                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  JERRY THOMAS,

                 Plaintiff

  v.
                                                            No: 3:20-cv-00358 DCLC-HBG
  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

                 Defendants

       MOTION FOR ADMISSION PRO HAC VICE OF HEATHER GWINN PABON

         The undersigned, counsel for Defendant Healthcare Revenue Recovery Group, moves for

  admission to appear in this action pro hac vice.

         Pursuant to E.D. Tenn. L.R. 83.5(b)(1), I have paid the filing fee of $90.00, and

         __X__ I am a member in good standing of the highest courts of the following states:

                 Tennessee, Georgia, and Kentucky.

         __X__ AND I am a member in good standing of another U.S. District Court.               A

                 certificate of good standing from the District court is attached.

                                                      OR

         Pursuant to E.D. Tenn. L.R. 83.5(b)(1)(C). No filing fee required.

         ____ An application for my admission to practice in this Court is currently pending.

         I declare under penalty of perjury that the foregoing is true and correct.



  DATED: November 19, 2020                      Respectfully submitted,


                                                GORDON REES SCULLY MANSUKHANI, LLP


                                                /s/ Pamela Bagley Webb

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